Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 1 of 50




                                UN ITED STA TES D ISTRICT CO U RT
                                SO UTHERN D ISTRICT O F FLO RIDA

                               CASENQJul .w -




   InRe:RequestfromBrazilPursuanttotheTreaty                                 -
                                                                                          ù t,
   BetweentheGovenunentoftheUnited States
   ofAm erica and the G overnm entofthe Federative
   Republic ofBrazilon M utualLegalAssistance in
   Crim inalM attersin the M atterof Francisco Iticardo
   H eraclio do Rego,eta1.



                         M EM O M N DU M O F LA W IN SU PPO R T O F
                 A PPLICA TIO N FO R O RD ER TO A PPO IN T C O M M ISSIO N ER

           The United States is seeking an order appointing a person as a com m issioner to collect

   evidence requested by the Federative Republic of Brazilin its attached treaty request (the
   ''Request'')madepursuanttoTreatyBetweentheGovernmentoftheUnitedStatesofAmericaand
   the Govenzm ent of the Federative Republic of Brazil on M utual LeaalA ssistance in Crim inal

   M atters,U.S.-Braz.,Oct.14,1997,S.TREATY DOC.NO.105-42 (1998)(theTreaty),and 18

   U.S.C.5 3512.
                                                  The Request

    The M inistry ofJustice,D epartm ent ofA sset Recovet'y,Brazil,pursuantto Article 1 ofthe Treaty

    m akesthisRequestin connection w ith a crilninalinvestigation. Specifically,the M inistly ofJustice,

    D epartm entof A ssetRecovery,Brazil,is investigating Francisco Ricardo H eraclio do Rego and

    his father, Jao H eraclio do Rego for concealing assets, tax evasion and m oney laundering.

    Brazilianauthoritiesinitiatedaninvestigationintothetwosubjectsbaseduponinformationshared
    w ith them by the U nited States Consulate in R ecife,Brazil. Francisco do Rego has num erous

    bank accountsin hisnam e and in thenam e ofhiscom pany,TexasVertenteFinancialLLC . Bank
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 2 of 50




   recordsfrom these accounts indicate thathe has conducted m illionsofdollarsin transfersthatare

   inconsistentw ith the declared business operations of the com pany in 170th the U nited States and

   Brazil. Texas Vertente Financial LLC w as created in Florida dtuing 2004. 'lhis business was

   adm inistered by Francisco do Rego'sfam ily and by TexasFinancialCorp,acom pany incorporated

   intheG rand Caym an butw ith an addresslisted in Panam a City,Panam a. Panam anian authorities

   have indicated to Brazilian investigatorstllatthey believeFrancisco do Rego and Joao do Rego are

   laundering m oney through theU nited Statesfinancialsystem .

          Brazilian authoritiesalso believethatthetwo subjectsarelaundering moneythrough
   Panam a,operating a rem ittance schem e to m ove m oney outofB razilw ithout declaring itto

   B razilian authorities and paying the appropriate taxes. The U nited States.Consulate has

   indicated to Brazilian authorities that Fabiane Cristina de A lbuquerque H eraclio, another

   fam ily m em ber,m ay be involved asw ell.

          Pursuantto the factsin the Request,the M inistry ofJustice,D epartm entofA ssetRecovery

   have asked for assistance in obtaining bank records located in M iam i,FL from JpM organ Chase

    Bank,O cean B ank,Bank A tlantic,and C itibank associated w ith Francisco d()R ego and Joao

    do R ego for the period ofM arch 1,2010 through D ecem ber 31,2012.

           Federalcourts,pursuantto the Treaty,statuteand theirinherentauthority,m ay issue orders

    asmay be necessary fortheproduction ofthe evidence requested by the Federative Republic of

    Brazil including orders appointing a person as a com m issioner to gather such evidence and

    establishing theprocedures fortheproduction ofsuch evidence.

    A.     Authorityto ExecutetheRequest

                   The Treatv

           A treaty constitutesthe law oftheland. U.S.Constitution Article V1. Theprovisionsof
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 3 of 50




   a treaty have equalfooting w ith actsofCongressand are binding on the courts. A sakura v.City

   ofSeattle-W ashinglon,265U.S.332,341(1924);UnitedStatesv.ThePeggy,5U.S.103(1801).
                                                                                   ,
   lnre:Commissioner'sSubpoenas,325F.3d 1287,1291(11th Cir.2003). Totheextentthatthe
   provisionsofa treaty are inconsistentwith a preexisting statutory provision,the treaty supersedes

   thestatute. Zschernig.etal.v.M iller,Administrator.etal.,389U.S.429,440-441(1968),
                                                                                    -Inre:
   Commissioner'sSubpoenas,325F.3d l287,l305-1306(11thCir.2003).
                                                               ,UnitedStatesv.Erato,2
   F.3d 11,15-16(2dCir.1993).
          The United States and the Federative Republic ofBrazilentered into the 'rreaty fr esiring

   to im prove the effectiveness of the law enforcem ent authorities of both countries in the

   investigation, prosecution, and prevention of clim e through cooperation and m utual legal

   assistance in crim inalm atters.'' Pream ble to the Treaty. ln accordance with the provisions of

   the Treaty,each State isobligated to provide mutualassistance to theotherççin connection with

   the investigation,prosecution,and prevention ofoffenses,and in proceedings related to crim inal

   matters.'' Article 1(1),
                          .lnreCommissioner'sSubpoenas,325F.3d 1287,1290 (11thCir.2003).
    Each state contem plated that itwould provide the other with assistance generally com parable to

    thatwhich is available to its own law enforcem entauthorities,w hich assistance includes taking

    testim ony or statem ents of persons,providing docum ents and other evidence,and im m obilizing

    criminally-obtainedassets. Article 1(2),
                                           *Barrv.U.S.DepartmentofJustice,645F.Supp.235,
    237(E.D.N.Y.1986),affd,819F.2d25(2d Cir.1987).
           TheTreatyand 18U .S.C.5 3512 empowerfederalcourtsto executetreatyrequestsinorder

    tocomplywiththeUnited States'treatyobligations. Article541)provides:
           The Courtsofthe Requested State shallhave authority to issue subpoenas,
           search w arrants,orotherordersnecessary to execute the request.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 4 of 50




   The Treaty contem plates thatfederalcourtsw illuse com pulsory m easuresto execute such

   requests. Article8(1)provides'
                                .
          A person in the Requested State from w hom testim ony or evidence is
          requested pursuantto thisTreaty shallbe com pelled,ifnecessary,to appear
          and testify orproduce docum ents,records,oritem s.

          The Treaty imposes no dual criminality requirem ent as a precondition for providing

   assistance. Consequently,each state party is obligated to provide assistance w ithout regard to

   whethertheconductunderinvestigation orprosecution would constitutean offenseunderthelaws

   ofthe Requested State,exceptas othelw ise provided by U.S.law. See Letterof Subm ittalof

   Treaty to the President,October 17,l991.

                 Statutory Authority Grounding Execution ofReguestsforA ssistance

          The Treaty isdesigned to be self-executing and requiresno im plem enting legislation. See

   LetterofSubm ittalofTreaty to the President,O ctober l7,1991;ln re Com m issioner'sSubpoenas,

   325 F.3d 1287,1291 (11th Cir.2003). However,becausethe proceduralprovisionsin many
   treaties are m inim al, in the past federal courts routinely utilized procedures authorized by 28

   U.S.C.j 1782 (the'dcommissioner'process)to executetreaty requestsfrom foreign authorities.
    lnreCommissioner'sSubpoenas,325F.3d 1287,1305-1306 (11th Cir.2003). SubstantiveU.S.
    law regarding searches,seizures and other com pulsory processesfurther g'
                                                                            rounded the execution

    ofsuch assistance requests.
           On October 19,2009,the Presidentsigned theForeign EvidenceRequestEfficiency Act

    of2009(PublicLaw 111-79),enacting 18U.S.C.13512,thefulltextofwhichisattachedforthe
    convenience ofthisCourt. Section 3512 explicitly authorizesa federalcourtto:
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 5 of 50




          lssue such orders as m ay be necessary to execute a requestfrom a foreign
          authority for assistance in the irlvestigation or prosecution of crim inal
          offenses,orin proceedings related to the prosecution ofcrim inaloffenses,
          including proceedingsregarding fchrfeiture,sentencing,and restitution.

   Section 3512directlyem powersthefederalcourtsto executesuch requestsand separatelycodifies

   under Title 18 the longstanding practice and procedures em ployed by the United States and the

   federalcourtsto executerequestsby foreiép authoritiesforassistancetothefullestextentpossible

   underU .S.law . Congressenacted Section 3512 to m ake itdleasierforthe U nited Statesto respond

   to theserequestsby allowing them to becentralized and by putting the processforhandling them

   withinaclearstatutoryscheme.'155CONG.REC.56,810(zoogltstatementofSen.W hitehouse).
   B.      Execution ofForeizn Reguests forA ssistance Underthe Treatv and Section 3512

                  A utholization ofthe Application to This Court

           Section 3512 provides:

           Upon application, duly authorized by an appropriate official of the
           DepartmentofJustice,ofanAttorneyfortheGovemment,aFederaljudge
           may issue such orders as may be necessary to execute a requestfrom a
           foreign authority for assistance in the investigation and prosecution of
           crim inaloffenses,or in proceedings related to the prosecution of clim inal
           offenses, including proceedings regarding forfeiture: sentencing and
           restitution.

    Forpurposesof Section 35l2,an application is ddduly authorized by an appropriate officialofthe

    D epartm entofJustice''when the D epartm entofJustice,Clim inalD ivision,O ffice oflnternational

    A ffairs,hasreviewed and authorized the requestand isexecuting the requestitselforhasdelegated

    the execution to another attonzey for the governm ent. ln this m atter,such autholization and

    delegation is evidenced by a letter dated July l0,2017 from the D epartm ent ofJustice,Crim inal

    Division,OfficeoflnternationalAffairs,received by theUnited StatesAttorney,transm itting the

    Requesttothisdistrictforexecution.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 6 of 50




   Section 3512(c)authorizesfilingtheinstantapplication inthisdistrict,wherethemajority ofthe
   evidence is located.

                  Foreign Authority Seeking AssistanceW ithin Section 3512 and theTreaty

          Astothe'lforeignauthority''makingtheRequest,Section3512(h)provides:
          Thetenu ''foreign authority''meansaforeignjudicialautholity,aforeign
          authority responsible for the investigation or prosecution of clim inal
          offensesorforproceedingsrelatedto theprosecution ofclim inaloffenses,
          oran authority designated asa com petentauthority or centralauthority for
          the purpose ofm aking requests for assistance pursuantto an agreem entor
          treaty w ith the United Statesregarding assistance in crim inalm atters.

   In this matter,the M inistry ofJustice,Departm entofAssetRecovery is the designated Central

   Authority in Brazilforrequestsm ade pursuantto the Treaty.

          Asevidenced by the Requestitselfand ccmfinued in the authorization pzocessand again

   bytheundersigned,consistentwith Section 3512(a)(1),theforeign authority seeksassistancein
   the investigation orprosecution ofcrim inaloffenses or in proceedingsrelated t()the prosecution

   ofcrim inaloffenses.

                  A uthority ofthe FederalCourtsUnderSection 3512.

           W hen enacting Section 3512,Congress intended thatfederalcoul'ts facilitate to the fullest

    extentpossible the execution ofrequestsby foreign authorities forassistance in crim inalm atters

    and endeavored to stream line and expedite the execution of such requests. Section 3512

    authorizes federal courts to issue 'dsuch orders as m ay be necessary to execute a request''and

    specifically includes'
                         . orders for search w arrantspursuantto FederalRule ofCrim inalProcedure

    41;ordersforstored wire orelectronic comm unicationsand related evidenceunder18U.S.C.

    â 2703.
          ,ordersforpenregistersandtrapandtracedevicesunderl8U.S.C.53123.
                                                                        ,ordersforthe
    provision oftestim ony ora statem entorthe production ofdocum entsorotherthings,orboth;and
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 7 of 50



   orders appointing i6a person''to directthe taking oftestim ony or statem ents ortlze production of

   documentsorotherthings,orboth;18U.S.C.53512(a)(l),(2).
          Theassistance requested by the Federative Republic ofBrazilpursuantto theTreaty by the

   D epartm entofA ssetRecovery,in the instantRequestfalls squarely w ithin thatcontem plated by

   both the Treaty and Section 3512.

          Appointm entofa Person as Com nlissionerto CollectEvidence

                  Statutory Autholization.

          Section 3512(b)providesthatafederaljudgemay dfissueanorderappointing aperson to
   directthe taking oftestim ony orstatem ents orofthe production ofdocum ents orotherthings,or

   both.'' The statute further authorizes the person appointed to issue orders, requiring the

   appearance of a person,the production of docum ents or other things, or both; adm inister any

   necessary oath; and takes testim ony or statem ents and receive docum ents or other things.

   Commensurate with pastpracticeunder28 U.S.C.1 1782,itisanticipatedthatafederalcourt
   w ould appointan attom ey forthe G overnm ent,typically a federalprosecutor,as '
                                                                                  dcom m issionen''

           2.     Procedures forEvidence Collection

           Section 3512(a)specifically empowersa federaljudgeto issue ldsuch ordersasmay be
    necessary'' to execute the request. This authorization encom passes orders specifying the

    proceduresto beused to collectparticularevidence,including proceduresrequested by the foreign

    authority to facilitate its later use of the evidence. ln executing a requestm ade pursuant to a

    treaty,a courthas the obligation to prescribe effective and expeditious procedures designed to

    prom ote thepurpose ofthe treaty. See In re Com missioner'sSubpoenas,325 F.3d 1287,1305

    (11thCir.2003). NothinginSection3512suggestsanylimitationon acourt'spowertoexercise
    ''completediscretion in prescribing theproceduretobefollowed''aswasavailableunder
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 8 of 50




   28 U .S.C.: 1782. ln re:Letter ofRequestfrom the Crown Prosecution Service ofthe United

   Kinadom,870 F.2d686,693 (D.C.Cir.1989),citing 1964U.S.C.C.A.N.at3789. SeeW hite
   v.NationalFootballLeacue,etal.,41F.3d402,409(8thCir.1994),cert.denietl,515U.S.1137
   (1995)(acourtmayissuewhateverprocessitdeemsnecessarytofacilitatedisposition ofamatter

   beforeit),
            .FED.R.CRIM.P.57(b).
                 ProceduresA uthorized bv O therStatutes.
          ln addition,Section 35l2referencesspecific U.S.lawsforobtaining certain evidenceand,

   by doing so,adopts any statutorily m andated procedures in relation to obtaining ordersfor search

   w arrants;orders for contents of stored w ire or electronic com m unications or forrecordsrelated

   thereto;and ordersfora pen registerora trap and trace device.

                  Ordersby thePerson Appointed'
                                              .Comm issionerSubpoenas

          Section3512authorizesthe'sperson''appointed(here,andinpastpracticeunder
   28U.S.C.5 1782,thedscommissioner'')to issueordersS
                                                    'requilingtheappearanceofaperson,or
   theproductionofdocumentsorotheritemsorboth.'' Further,Article5(1)oftheTreatyprovides
    forthe issuanceofproceduraldocum ents,such assubpoenas,to gatherevidence:

          The Courts ofthe Requested State shallhave authority to issue subpoenas,
          search w arrants,orotherorders necessary to execute the request.

    lfa federaldistrictcourtso orders,the Comm issionermay use the attached form,stillentitled

    ''Com m issioner's Subpoena,'' to obtain the requested evidence. See In re: Com m issioner's

    Subpoenas,325 F.3d 1287,1291(2d Cir.1993)(incoporating in pertinentpartadistrictcourt's
    orderdirectinguseofcommissioner'ssubpoenasl;UnitedStatesv.Erato,2F.3d11,13-14(2dCir.
    1993)(same). Thiscommissioner'ssubpoenaissimplyaversion ofthed'order'tobeissuedby
    theperson appointedby the CourtunderSection3512todirecttheproduction ofevidence.Section
                                                8
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 9 of 50



   3512 expressly authorizes the service and enforcem ent of such orders, or com m issioner's

   subpoenas,anywhereintheUnited States(i.e.,coextensivewiththeserviceofsubpoenasin U.S.

   criminalinvestigationsandprosecutions).
                  N otice ofEvidence Taking
          A san initialm atter,this application isbeing m ade ex parte,consistentwith U .S.practice

   in its dom estic crim inalm atters and itspriorpractice on behalfofforeign authorities under

   28U.S.C.5 1782. In re:LetterofRequestfrom theCrown Prosecution ServiceoftheUnited

   Kincdom,870F.2d686,688 (D.C.Cir.l989).
                                        ,In re:LettersRogatory from theTokvo District,
   Tokvo,Japan,539F.2d 1216,1219(9th Cir.1976). TheTreatyitselfcontemplatestheneedfor
   confidentialitywithrespecttoal1aspectsoftheexecutionofrequests. Article5.
                                                                           (5)provides:
           The Requested Stateuseitsbesteffortto keep confidentialarequestand its
           contentsifsuch contidentiality isrequestedby theCentralAuthority ofthe
           Requesting State. lf the request cannot be executed w ithout breaching
           such contidentiality,the CentralAuthority ofthe Requested State shallso
           inform the Central Authority of the Requesting State, which shall then
           determ ine whetherthe requestshould neverthelessbe executed.

    Therefore, in accordance w ith the request by the M inistry of Justice, D epartm ent of A sset

    Recovery,Brazil,theUnited StatesrequeststhatthisCourt'sorderdirectany individualorentity

    thatreceives a com m issioner's subpoena in this m atter to keep confidentialthe existence ofthe

    subpoena,itscontent,and the response to the subpoena.

    Both Section 3512 and the Treaty atArticle 841)autholize use ofcompulsol'
                                                                            y processin the
    execution oftreaty requestscom parable or sim ilarto thatused in dom estic crim inalinvestigations

    orprosecutions. Becausesubpoenasutilized in U.S.criminalproceedings(i.e.,gr
                                                                              'andjury and
    criminaltrialsubpoenas)areissuedwithoutnoticeto anyparty otherthan therecipients(i.e.,no
    noticetotargetsordefendants),ordersandcommissioner'ssubpoenasissuedinexecutionoftreaty
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 10 of 50




   requestspursuantto Section 35l2 and the applicabletreaty likew ise should requireno notice other

   than to the recipients. ln the absence ofa specific requestto provide notice,a districtcourtand

   U .S.authorities can assum e thata requesting foreign authority has provided such notice as the

    foreign law requires,orthatforeign 1aw doesnotrequirenotice and therequesting foreign autholity

    does not consider notice to be necessary or useful. A ccordingly,a federaldistrict courtshould

    autholize a com m issionerto collectthe evidence requested w ithoutnotice to any party otherthan

    the recipient ofthe com m issioner's subpoena exceptto the extentthata requestasks for specitic

    notice procedures.

           d.     ltightto FinancialPrivacv A ct

           TheRighttoFinancialPrivacyAct,12U.S.C.j3401et.seq.,doesnotapplytoexecution
    offoreignlegalassistancerequests. Younav.U.S.Dept.ofJustice,882F.2d633,639 (2d Cir.
    1989),cert.denied,493 U.S.1072 (1990).
                                         ,ln re:LetterofRequestforJudicialAssistanceflom
    theTribunalCivildePort-Au-prince,RepublicofHaiti,669F.Supp.403,407(S.D.Fla.1987)*
                                                                                    ,
    lnre:LettersofRequestfrom theSupremeCourtofHongKong,821F.supp.204,211(S.D.N.Y.
    1993). Consequently,to the extentthatexecution ofarequestentailsproduction ofbank or
    tinancialrecords,notice provisions ofthe A ctdo notapply,and the Com m issionerneed notgive,

    norarrangeforthecustodianofrecordsto give,noticeto anaccountholder. (NotethattheAct
    itselfapplies only to accounts m aintained in a person's nam e and notto corporate,perhaps even

    partnership,accounts. United Statesv.Daccarett,6F.3d37,50-52(2dCir.1993).)




                                                 10
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 11 of 50




                                              Conclusion

          TheinstantRequestisexactly the tAm eofrequestcontem plated forexecution underSection

    3512. In its sequential legislative effods relevant to the provision of assistance to foreign

    authorities,CongresshasintendedthattheUnited Statessetan exam pleto othernationsbym aking

   judicialassistancegenerouslyavailable.See.e.c.ln re:RequestforAssistancelkom Ministryof
    LeaalAffairsofTrinidad and Tobago,848F.2d 1151,1153-1154 (11thCir.1988),cert.denied,
    488U.S.1005(1989). Section 3512 enablesthe United Statesto respond '
                                                                       dmorequickly ...to
    foreipzevidence requests. These effortswillassistthe United Stateswith its investigations as

    foreign authorities willbe urged to respond in kind to ourevidence requestsin a speedy m alm en''

    155CONG.REC.1110,093(zoogltstatementofRep.Schift).
           A ccordingly,to execute this Request,the United States m oves this Courtto issue the

    attachedproposed orderpursuanttotheTreatyand 18U .S.C.5 3512. Appointingtheundersigned
    A ssistantU nited States Attorney asCom m issioner,authorizing the undersigned to takethe actions

    necessary,including the issuance ofcom m issioner's subpoenas,to obtain the evidence requested,

    and to adopt such procedures in receipt of the evidence as are consistent w ith the intended use

    thereofin the Federative Republic ofBrazil.

                                                Respectfully subm itted,

                                                BENJA M IN G .GREEN BERG
                                                A C ING UN ITED STA TES A TTORNEY
                                                                       1
                                         By:
                                                J athan D .Stratton
                                                 ssistantU nited StatesA ttorney
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 12 of 50




                              C ERTIFICA TE O F SE RV IC E
                                     31
          lHEREBY CERTIFY thaton JulyM , 017,the foregoing documentwasfiled with the

    Courtunderseal.                     '



                                                               ;        .

                                                 ;     (   )
                                         Jon an D .Stratton
                                         A ss stantUnited States Attolmey
                                         F1 'da BarN o.93075
                                         U .S.A ttom ey's Oftice
                                         99 N E 4th street
                                         M iam i,FL 33132
                                        Tel.(305)961-9151
                                        jonathan.strarron@ usdoj.gov




                                            12
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 13 of 50




   United StatesCode Effective:O ctober 19,2009
   Title 18.Crim esand Crim inalProcedure
   Pa14 I1.Crim inalProcedure
   Chapter223.W itnessesand Evidence
    5 3512.Foreign requestsforassistancein criminalinvestigationsand prosecutions

    (a)Executionofrequestforassistance.--
    (1)In general.--uponapplication,dulyautholizedbyanappropriateofficialoftheDepartment
    ofJustice,ofanAttorneyfortheGovernment,aFederaljudgemayissuesuchordersasmaybe
    necessary to execute a requestfrom a foreign authority for assistance in the investigation or
    prosecution ofcrim inaloffenses,orin proceedingsrelated totheprosecution ofcriminal
    offenses,including proceedingsregarding forfeiture,sentencing,and restitution.

    (2)Scopeoforders.--AnyorderissuedbyaFederaljudgepursuanttoparagraph (1)mayinclude
    the issuance of--

    (A)asearchwanunt,asprovidedunderRule41oftheFederalRulesofCriminalProcedure,
                                                                              '
    (B)awarrantororderforcontentsofstoredwireorelectroniccommunicationsorforrecords
    related thereto,asprovidedundersection 2703 ofthistitle;

    (C)anorderforapenregisterortrapandtracedeviceasprovidedundersection 3123ofthis
    title;or

    (D)anorderrequiringtheappearanceofapersonforthepurposeofprovidingtestimonyora
    statem ent,orrequiring the production ofdocum entsorotherthings,orboth.

    (b)Appointmentofpersonstotaketestimonyorstatements.--
    (1)lngeneral.--lnresponsetoanapplicationforexecutionofarequestfrom aforeignauthority
    asdescribedundersubsection (a),aFederaljudgemayalsoissueanorderappointingapersonto
    directthe taking oftestim ony or statem entsorofthe production ofdocum entsorotherthings,or
    both.
    (2)Authorityofappointedperson.--Anypersonappointedunderanorderissuedpursuantto
    paragraph (l)may--
    (A)issueordersrequiringtheappearanceofaperson,ortheproductionofdoculnentsorother
    things,orboth;

    (B)administeranynecessaryoath;and
     (C)taketestimony orstatementsandreceivedocumentsorotherthings.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 14 of 50




   (c)Filingofrequests.--Exceptasprovidedundersubsection(d),an applicationforexecutionofa
   requestfrom a foreign authority underthissection m ay be filed--

    (1)inthedistrictin which apersonwhomayberequiredtoappearresidesorislocatedorin
    which the docum entsorthingsto beproduced are located;

    (2)in casesinwhichtherequestseekstheappearanceofpersonsorproductionofdocumentsor
    things thatm ay be located in m ultiple districts,in any one ofthe districtsin which such aperson,
    docum ents,orthingsm ay be located'   ,or

    (3)in anycase,thedistrictin whicharelatedFederalcriminalinvestigation orprosecutionis
    being conducted,orin the D istrictofColum bia.

    (d)Searchwarrantlimitation.--Anapplicationforexecutionofarequestforasearchwarrant
    from a foreign authority underthissection,otherthan an application fora w arrantissued as
    provided under section 2703 ofthistitle,shallbe filed in the districtin which theplace orperson
    to be searched is located.

    (e)Searchwarrantstandard.--A Federaljudgemayissueasearch warrantunderthissectiononly
    ifthe foreign offense forw hich the evidence issoughtinvolvesconductthat,ifcom m itted in the
    United States,would be considered an offense punishable by im prisonm entform ore than one
    yearunderFederalor State law .

    (9 Selwiceoforderorwarrant.--Exceptasprovidedundersubsection(d),anorderorwarrant
    issued pursuantto thissection m ay be served orexecuted in any place in the U nited States.

    (g)Ruleofconstruction.--Nothinginthissectionshallbeconstnledtoprecludeanyforeign
    authority oran interested person from obtaining assistance in acriminalinvestigation or
    prosecution pursuantto section 1782 oftitle 28,U nited States Code.

    (h)Definitions.--Asusedinthissection,thefollowingdefinitionsshallapply:
    (1)Federaljudge.---
                      f'hetenns''Federaljudge''and ''AttorneyfortheGovernment''havethe
    m eaning given such tennsforthe purposesofthe FederalRules ofCrim inalProcedure.

    (2)Foreignauthority.--Theterm ''foreignauthority''meansaforeignjudicialauthority,aforeign
    authority responsible for the investigation orprosecution ofcrim inaloffenses or forproceedings
    related to the prosecution ofcrim inaloffenses,oran authority designated as a com petent
    authority or centralauthority forthe purpose ofm aking requests forassistance pursuantto an
    agreem entortreaty w ith the U nited States regarding assistance in crim inalm atters.

     (AddedPub.L.111-79,52(4),Oct.19,2009,123Stat.2087.)
     18U.S.C.A.j3512,18USCA j3512
     CurrentthroughP.L.111-86(excludingP.L.1l1-84)approved 10-29-09
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 15 of 50




                              UN ITED STA TES D ISTRICT CO U RT
                              SO UTHERN D ISTRICT O F FLORID A
                              CASENO              1
                                                  - .   7 -22 8 8 8
                                         .




    InRe:RequestfromBrazilPursuanttotheTreaty                                -
                                                                                 jj
    Between the G overnm entofthe United States
    ofA m erica and the G overnm entofthe Federative
    Republic ofBrazilon M utualLegalAssistance in
    CriminalM attersin theM atterofFrancisco Ricardo
    Heraclio do Rego,etal




                                                  SA M PLE

                                 C O M M ISSIO N ER 'S SUBPO ENA




           1,Com m issionerJonathan D .Stratton,an A ssistantUnited StatesA ttonzey forthe Southern

    D istrictofFlorida,acting pursuantto the Treatv Between the Governm entofthe U nited Statesof

    A m erica and the G overnm entofthe Federative Republic ofBrazilon M utualLezalA ssistance in

    CriminalM atters,U.S.-Braz.,Oct.l4,1997,S.TREATY DOC.NO.105-42(1f?98),18U.S.C.5
    3512,and this Court's order thereunder dated                        ,for the purpose of rendering

    assistance to the Federative Republic of Brazil, com m and that you appear before m e on

                attheUnited StatesAttom ey'sOftk e,Southern DistrictofFlorida,located at99 NE

    4thstreet> 4thFloorRoom         at       .-
                                                  AM /PM to provide testim ony/docum entsregarding an
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 16 of 50




   alleged violation ofthe law s ofBrazil,nalnely,tax evasion,m oney laundering,and am ong other

    violations,and thatattheplace and tim e aforesaid you provide the follow ing:

    Iidentifydocumentsetc.tobeproducedl
            Failure to attend and provide testim ony and/or said docum ents,or for (lisclosure of the

    existenceofthesubpoena,you m aybedeem ed guilty ofcontemptand liabletopenaltiesunderthe

    law .




                                                 Com m issionerJonathan D .Stratton
                                                 A ssistantUnited StatesAttorney


    D ated:
                                                '
                                                d
                                             vy                                                                                                                         6
                                               $.
Case 1:17-mc-22888-UU Document 4 Entered on FLSDa Docket 08/01/2017 Page 17 of 50                                                                                            '

                                                                                                                                                             .q
                                                                                                                                                                  .
                                                                                                                                                                  f'         .
                                                                                                                                                                                 i 'Y                 '
                                                                                                                                                                                                               '
                                                                                                                                                                       ...
                                                                                                                                                                        ..            .          .-                J .,
                                                                                                                                                      j
                                                                                                                                                      y      '               .
                                                                                                                                                                                     *
                                                                                                                                                                                                 L'
                                                                                                                                                                                                          ,
                                                                                                                                                                                                              :
                                                                                                                                                                                                                  'k
                                                                                                                        - .
                                                                                                          ,                 MmISTR.
                                                                                                                                  YOFJUSTICEANPOITIiBNSHIP                                                                                     ..
                                                                                             .             NATIONALSECRETARIATOFJUSTICEAYIICITIZENSHIP .'                                                                                                              .        k
                                                    DEPARTM ENT OFASSETSRECO, VEV                                 XND
        '                                                       L                                .GENERALYOOO INATION J
                                                                                                                      ONTYRSNA
                                                                                                                       FAS   EYT
                                                                                                                               SI
                                                                                                                                OXCOVE
                                                                                                                                RVALLERY
                                                                                                                                      GALASSISTANCE
                                                        ,'          ' -                                                                                                          ' '
                                                        .                                                                                                                            K.
                                                .                   . ,                                                     z
            OfliciqlL'
                     etter#4082/2016v/yCQltA-DRC1-SNJ-M J                ' '                                                                                                                                                    4 '                i                       #'                     .        ''

                                                                                 41.                                                                                                                                                 Bras-flia, Septemb'er.19th: 201
                                                                                                                                                                                                                                                                   - 6.'
                                                                                                                                                                                                                                                                       -        I




                        . wv                        .

      'M R VAUG:ARY
     ,. -   Director :                                                       '                                                                .              .
            om ceofIn.tematlonalAffairsv'criiinalDivision,
                                                    '                                .       .,                                                                                              .
     . .    D epartfnçntèfJustice,13001/
                                       .IA/CRM                               ,                                  .                                                                         -'
           '1301: N ew'YorkAve
                             .ndeN W 's7
                                   . h 'i
                                        .t
                                         e..800*t .
            20j3%- W ashingtonD.C.                                                                                                    '' ' ''
        '

                                                                                                                                                                                                                       1.                                    '
                                                                                                                                                                                                                                                             .. . ,                                            7.
                                                                         :                                                                                                                                          :                                       .- *            .ï           **               .,
                    '
                        .              '.                                                                                        .                                =

                S'u'blect.M'utualLegalAjsisian'ckincrim'
                    -' '''
                            '               .
                                                       inalM attersbètw
                                                                      'een.srak,iland.
                                                                                     th'e.Uni
                                                                                           . t
                                                                                             ,ed st
                                                                                                  àtès                                    .                                                                            .-
                                                                                                                                                                                                                                                       .
            .of                             erica in thd
                                                       '.mattek ofFtincisco Ricardo Heréclio.do.Re
                                                                                        ,,       .
                                                                                                   go. and'lbuo'
                                                                                                               u
                                                                                                               ..
                                                                                                                  eréclio d:
                                                                                                                          :
                                       p                '.k , .                                                             ...
                                                                                                                                                                                             '                                                     .
                                                                                                                                                                                                                                                   .                                .
                                                                                                                                                                                                                                                                                                      '
            lèegè.
           '-
                                                                         .                                                  ,.                                                                                                                                                                    .. . .


                burreference':2016/03609.                                                             .

                                                                    t


                                                                    .-   DearV. ada
                                                                                 x
                                                                                   m;
            '

                                                                                                                                                                                                              .w
                                                                                                                                                                                                                   .)                                                           '                                   .'
                                                                                                                                                                                                                .1                    .                                         '                               ..
                                                                                                                                                             .                           *
                                                                          . ''                                                                                                   ''                           '
                                                                                                                                                                                                              . .                         (2
                                                                                                                                                                                                                                           '                                                                   '
            .
                1. ..                       ,
                                                                    .    In'the capacitv of CéntralAuihority design>ted in thé M jutualLegal.Assiltancçf
                                                .               )                                         '
                                                                                                          *'-       v                             x                      '. - .                               -.
                                                                                                                                                                                                               '
                                                                                                                                                                                                               *
            h'
             TreàiyinCnmindlMattersbetweentheGover'
                                                  nmenjoftheV
                                                            g4d
                                                              eràtiv,eReptélidofBrajziland.the            ,         j       , ,
                Gover.nmerg ofthe
                                #
                                  UnitçdStatespfAmerica;Fe-herebytiansfnitthçattachedireguedtfoimtp al.
                                                                                                  .
                                                                                                                                                                                                      a                                        .
                                                                                                                                                                                                                                                   '

                legal'kssistqnce'
                                .in priminal m>iters .arising.from Poliçe lnvestigave.lpquiry # ,
                                                                                                97/2016-
       '
                SW DPF/PEz
                .           x
                         .' -7
                                                                     !'.     ..'
                                                                               .    p
                                                                                    ,    '                                            >                          x
                                                                     l
                                                                     j g
                                                                                                                                  .
                                                                                                                                 ..                      .
                                            t                    '.                                                     .

         2.             Thise.muluallegalass  :
                                               is
                                                tanc
                                                   -
                                                    ç ai
                                                       ms a tobtain i
                                                                    rigbank Jw ordstaftv acdolmtsli'sted.
                                                               . ' i suspects,as'wellas confirm ifthe
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                .



         atthe requegtand propeo .aënd)Yam ings docum e
                                                    .      #
                                                            nts.of the
                                                                     '
                                                                                                                                                  '*''                  '

                              rtente FinaclalLLC'realfyq exisfs and Iwhatbnsiness'activities it develops,.
            .
        'compà
             e
               m y, Texas Ve,
                                .''-
                                                                                                                                      '
                                                                                 .                                                                                                                                  i
                accgriipgl y to the
                        . yt.     '
                                    dpçum ent>tion attached.
                                                '
                '                                                                                                                                                                                                                                                                             -
                                                                                 .                                                                                                                                                                     .                            j.

                3.
                 '               ' you
                             Thank œ'
                                       for.tyour'cooge
                                         . œ'      ; '''
                                                         ra.t,ion n-
                                                                   nd p
                                                                      -
                                                                         easç, do.nbthes.itate to. contabt,us should
                                                                       'l'               .                                                                                                                                       .         .                           .
                               .
                you.
                   neçd any cl lcation.                                      '
                                  .                                                  .
                                                                                                                                                                                                              ..
                                                                                                                                                                                                                    l
                                                                                                                                                                                                                    jJ
                                                                                                                                                                                                                    !
                                                                                                                                                                                                                    .
                                                                                                                                                                 .

                                                                          Sinderely,                                                                                                 .''
                                                                                                                                                                                     '                              )
                                                                                                                                                             'l                                               .
                                                                                                                                                                                                                    .  1 --,
                                                                                                                                                                                                                           $
                                                                                                                                                                       .ê
                                                                                                                                                                                                                       j
                                                                                                                                                                                                                       . -.
                                                                                                                                                                                                                       t
                                                                                                                             .
                                                                                                                             lsalinoAntoni Glaco etlunio
                                                                                                                                   (Jejne
                                                                                                                                        .yal rbordin t.or'.j                                                                .

                                                                                                                                                                                 >                        %-       .(  l %
                                                                                                                                                                             . -'                                      !                                                                          '
                                                                                                                                                                                                                                                                                                  h J.
                            .
                                *                           '                                                                         .
                                                                                                                                                                                 '-
                                                                                                                                                                                  -
                                                                                                                                                                                     .
                                                                                                                                                                                          -
                                                                                                                                                                                          h
                                                                                                                                                                                          .                            I                                   ,
                                                                                                                                                                                                                                                           ' . .... .... ......
                                                                                                                                                                                                                                                           L                  -rp4
                                                                                                                                                                                                                                                                                 :
                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                 k
                                                                                                                                                                                                                                                                                 4:
                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                                                                  ,
                    -                               scx
                                                    l
                                                        Qd.o6,c
                                                              ,onj..A,Bl.A,zo
                                                                            .Andar-rsdituiovenâncio3t,
                                                                                                     Mù0.Br
                                                                                                          asfliauoF..csp-.70716-900 '
                                                        1molofnno.                                                                        N'ov.                                                               17-fu a11-                                                                 .
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 18 of 50



                     REQUEST FOR LEGAL ASSISTANCE IN CRIMINAL MATTERS            -




      CO NFIDENTIAL TRANSM ISSION?

        x   YES

      S    No                                           l
                                                        '
      Do Requested and Requesting A uthority's Countriex bordereach other?

      r7 vEs                                                   ;

        x    NO

       1.    RECIPIENT:United States Depadm entofJustice.
       2. SENDER:Departm entofAssets Recovery /NationalSecretal ofJustice /Ministry
       ofJustice ofBrazil
       3.    REQ UESTING AUTHORITY: Federal Police De adment / Federal Police
       Comm issionerW agnerFurtado M enezes / e-m aill                                I Telephone:


       4.
                                                               l
             REFERENCE:Police lnvestigative Inquiry # 97/2016-SR/DPF/PE
                                                               I
                                                               l

       5. FACTS:                                               I
                                                               i
            This case was initiated afterwe received information from the United States
       Consulate in Recife,who shared suspicion that FRANCISCO RICARDO HERACLIO DO
       REGO and hisfatherJOAO HERACLIO DO REGO,kre creating shellcompaniesInthe
       U.S.in orderto Iaunderassets.Bothhave motethan b0fraud aledsrepoded in FinCEN.
       FRANCISCO HERACL10 is the title holderofU.S.bal
                                                     nk accounts, some in the name of
       TEXArecei
       has  SVE  RTEmi
               ved   NlT EFINofANdol
                       lions      CI
                                   AarLsLiLnCt.rA
                                   l             ccoerrdsing
                                                ansf         tothjytb
                                                           inconsl   qnkwi
                                                                    ent ,tthhetaheccopat
                                                                                     unt of
                                                                                       ternt
                                                                                           hof
                                                                                            isc omp
                                                                                               busiany
                                                                                                  ness
       declaredbyhim intheU.S.andinBrazil.Moreover,FrANCISCO DO REGO wouljhave
       claimed mbre than $30 million in assets in the U.S.A? forhisfather,JOXO HERACLIO ,
       travelrecords where he declared hundreds ofthousands ofdollars upon arrivalin the U.S.
       between 2000 and 2006 were Iocated.

            According to Florida state documents, TEM S VERTENTE FINANCIAL was
       established in 2004 and is administrated by FRANCISCO HERACLIO in Florida. It is
       composed by membersofthe REGO family aswellak l
                                                       the company TEXAS FINANCIAL
       CORP,which is a Grand Cayman registered compaqy bstwith an address in Panama.
                                                                     .



       This address (Credicorp Bank Plaza,26th Floor,Nidanor Obarrio Aven,, ue,50th Street,
       Paqama)isfoundinthedatabaseofthenotorious sll ''anamaPapers accordingtothe
                                   .
       linkjhoDs://olshoreleaks.icil.orn/ne es/l4o36gz3,y
                                                          l
                                                          .
                                                               !




                                                               l
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 19 of 50



            The U.S.authoritiesbelieve thatfatherand son jre using theAmerican economic
      system to launderm oney.Therefore,the Consulate shared with us the various com pany
      namesandbankaccountsundersuspicion.Forourparttwebelievethatthesuspectsare,
      infact,,Iaundering money in the U.S.More preciselgj
                                                        ,they are likely to be executing
      clandestine withdrawaloffinancialresources ofBraziliaq'sabroad.The mechanism used is
      sim ilar to the method know n as hawala, whereby international rem i
                                                                         ttances gre m ade
      withoutofficialcontrolofnationalauthorities.ltshould blconsideredfurtherthatthereisa
      greatprobabilityoftaxevasionwiththeconcealmentofJssetsandincomesofBraziliansin
      the U.S.
            Therefore,forthis investigation to be successful itis essentialto access the U.S.
                                                               l
      financialrecordsofthe suspects,inorderto betterundyrstand theirfinancialpositionand
       realestate properties owned by them in the U.S.Basiqally,we need to know ifthey are
      concealing their financial resources or their client's financial resources from Brazilian
      authorities and ifthey are performing unlawfuleconolkic activities in the U.S.AIIdata
       assets and bank accounts,which are presented in item 7,were disclosed by the Regional
       Security Om ce and Investigations at U.S.Consulate in Recife,which also has suspicions
       aboutanotherfam ily mem ber,FABIANE CRISTINA DE ABUQUERQUE HERACLIO,who
       is the title holderforone ofthe suspicious accounts used by'the REGO group.Considering
      the Brazilian Iegalrestrictions,we have obtained formai
                                                            1
                                                              approvalfrom a Brazilianfederal
                                   ,
      judge to obtain the suspects U.S.income tax and fjnancialdata as wellas disclose
       Brazil
            ianfinanci
                     aldatatoU.S.authori
                                       ti
                                        esshoul
                                              dtheyhaj
                                                     veinterest.
            Allbank details and known companies are detailed
                                                           ' in section ''7 DESCRIPTIO N O F
       THE REQUESTED ASSISTANCE''.
       6.    TRANSCRIPT OF LAW S:

                          EVASION OF CURRENCY (Law No.7.492of1986)
                          Art.22.M ake unauthorized exchange operation,in orderto prom ote foreign
                      exchange evasion from the Country:
                          Penalty-Imprisonmentoftwo(2)tosix(6)yearsandfine
                          Single paragraph.The same penalty (js above)who,in anyway promotes,
                      withoutIawfulauthority,theoutputofcurrejcyorcurrencyabroad,orwillretain
                      deposits notreported to the appropriate federalagency

                          TAX EVASION (Law No.8137of1990)
                           Art.1.Itisa crimeagainstthetaxordqreliminating orreducingtaxorsocial
                      contribution and any accessorythrough the following m easures:
                           I-omitinformationorprovidefalsedeciarationtothetaxauthorities'
                                                                                        .
                           (...
                              )                                 )
                           Penal
                               ty-i
                                  mprisonmentoftwo(2)toIfi
                                                         ve(5)yearsandafi
                                                                        ne
                          MONEY LAUNDERING (Law No.9613l
                                                       of1998)
                          Ad.1.Hideordisguisethenature,source,Iocation,disposition,movementor
                      ownershipofproperty,rights orassetsderivl
                                                              ed directlyorindirectlyfrom a criminal
                      ofense                                    !

       7
                      Penal
                          t
                          y:I
                            mpri
                               sonmentoft
                                        hree(
                                            3)toten(10k
                                                      )year
              DESGRIPTION OF THE REQUESTED ASSISTA cs,;
                                                          sandaf
                                                               i
                                                               ne.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 20 of 50




                                                                1
                                                                l
             Diligence                                  RequiremyntsNeeded
             Evidences:             V Checkbyvisitingthesitejlfthe companyTEXASVERTENTE
                                         FINANCIAL LLC,based iq the State ofFlorida (110 Merrick
                                         Way,Suite 3AucoralGables),ifthe company really exists at
                                         theaddressandwhatbusijessacti
                                                                     vi
                                                                      ti
                                                                       esi
                                                                         tdevelops.
           Overcome bank
       confidentiality rules and    v oetBank Docum ena :
       obtainbankdocuments:                                        1
                                                 Name              .   oate of     passpod
                                                                j
                                                                I
                                                                  Bi
                                                                   rth/cri
                                                                         ati
                                                                           on Number
                                   FRANCISCO RICARDO HERACLIO
                                   DOREGO                       j
                                   FABIANE CRISTINA DE
                                   ALBUQUERQUE HERM LIO
                                                                   ;
                                   JoAoHeMcul
                                            oDoREGO                j
                                                                   I
                                   TEM S VERTENTE FINANCIAL LLC
                                                                   l


                                       V Know n Bank Data:
                                                                   j
                                                                   l
                                       Name ofBank        Numberjj
                                                          Account                Ti
                                                                                  tl
                                                                                   eHol
                                                                                      der
                                                                       FRANCISCO HERACLIO DO
                                                              3913     REGO and
                                                                       FABIANE HERACLIO
                                   JP Morgan Chase                     FaAxcjsco HERACLIO DO
                                                                       REGO and
                                                               898     FABIANE HERACLIO


                                   B                               l
                                   Pa
                                    l
                                    un
                                     mkh
                                       paaun
                                           sdCcaorlF.
                                                 .
                                                          Unknow
                                                                   l   JOAO HERACLIO DO R Eoo
                                   (intermediaryJP
                                   Morganchase)
                                                                   1   TEXASVERTENTEFINANCIAL
                                   ocean aank                  9e5     LLc
                                                                   l
                                                              71I
                                                                .
                                                                3      TEXAS VERTENTE FINANCIAL
                                   BankAtl
                                         antic                         LLC and JOAO HERACLIO DO .
                                                                       REGO                    '
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 21 of 50



                                                           4446
                                                              7 aoAo HE> culo oo REoo
                                                              1

                                                               l 'rexAsVERTENTEFINANCIAL
                                                            lsoa
                                ci
                                 tiBank                        ! LLc
                                                               ! TExAsVERTENTEFINANCIAL
                                                            7:07 LLc
                                                              l

                                  V Break Period:12/1/2015 tè 7/31/2016
                                                              l
                                  V Types ofDocum ents Requested:
                                                            I ents used to open and operate the
                                          o A copyofthe docum
                                             account,suchasajpasspod,powerofattorney,articles
                                             ofassociation ofthe com pany and signatory page;
                                             Bank statements jom 01/12/2015 to 07/31/2016 in
                                             paper and digi
                                                          talfile in spreadsheet form at with the
                                             identificationofthl,bankaccountsthattransferredand
                                             received values ofjthe above,including the names of
                                             theirholders;and j
                                  7 R elationship of Accoupt1 s and their Holders with the
                                    Established crimes:the 'pccounts probably are being used to
                                    move illici
                                              tmoneybelongip'g tothe suspects and theirpotential
                                    custom ers. only by over'
                                                            eom ing bank confidentiality, can we
                                     SUWBri
                                     t    a
                                          fzt
                                            j
                                            hj
                                             ejg
                                             a ao
                                                rO
                                                 velllli
                                                       D
                                                       y
                                                       jtl
                                                         allBa
                                                             er
                                                              v
                                                              eYplf
                                                                  oo
                                                                   vz
                                                                    j
                                                                    di
                                                                     nWgi
                                                                        tj
                                                                         hj
                                                                          O
                                                                          su
                                                                           gt
                                                                            aj
                                                                             ds
                                                                              eo
                                                                               cw
                                                                                l
                                                                                aj
                                                                                 r
                                                                                 c
                                                                                 i
                                                                                 nag
                                                                                   stO
                                                                                     o
                                     Brazi
                                         li
                                          anci
                                             ti
                                              zens,i
                                                   norderltoconcealtbeirassetsandi
                                     from Brazilian authori
                                                          tie'
                                                                                 ncomes
                                                             p. The period of the break w as
                                     determ ined as Decem ber' 2015, because, according to
                                     Brazilianlaw,itisespecikllyimportanttoknow thebalanceof
                                     bank accounts atthe enà ofeach year.W e need additional
                                     updatedinformationtoidlnti
                                                              ywhoarethecurrentclientsofthe
                                     suspects and investigatk whether the transactions have
                                      l
                                      egi
                                        timacy.               )
          OvercomeBank
          confidentiality and
                                      GetIncomeTaxReturn:!
         obtain Property and                  Name                   Date ofBillh     passport
         Earnings Docum ents                                                          Number
                                                              J
                                FRANCISCO RICARDO HERACLIO
                                DoREoo                        J
                                 FABIANE CRISTINA DE
                                ALBUQUERQUE HEM CLIO

                                 JoXOHER
                                       '
                                        MLI
                                          ODOREGO l(
                                 TEXAS VERTENTE FINANCIAL LL
                                                           lC
                                                              I

                                                                                          1
                                   V T pes of Documents Requested:cop ofthe lateyfincome
    Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 22 of 50
@




                                      tax statem ent presented by the suspects and com panies
                                      above',
                                    V Relationship of Docum ents w ith Established Crim es:
                                      based on   theUSgovernjentinformationthatthesuspects
                                                 .
                                       have m illions in assets in l
                                                                   the US,we need to know,through
                                       the incometaxreturns,thjsi
                                                                zeoftheirassetsintheU.S.We
                                       also need inform ation ofdeclared incom e sources to analyze
                                       thevolumeofresourcestpattheymoveandiftheyhaveillicit
                                       ori
                                         ginornot.              t
          8.    O BJECTIVES OF THE REQ UEST:
          a) Confirm existence ofthe company- Know ifthe company really exists orifltonly
          serves to justify the opening ofbank accounts and to ove money abroad to hidq non-
          existentbusiness,Iaundering m oney derived from crime.

          b)    Obtain bankdocuments-
                b.1)Locate the source ofthe money in orderto verify ifthe money is coming from
          Brazilian citizens;
                b.2)Determine whetherthe assets are hidden abroad in orderto trick the Brazilian
          authorities;
                b.3)Acquire knowledge ofthe balance (financialposition)ofbank accounts atthe
          end of 2015 to exam ine whether they have a Iegal obligation to notify the Brazilian
          governmentto m aintain deposits abroad.
           c)    Obtain income tax documents - Know the assets and sources ofincome declared
                                                             1
           bythe suspectsinthe US inorderto investigate whethqrthe monetaryvalues moved into
           the accounts were lawful. Know if they are conceallng inform ation about assets and
           incom es from the Brazilian government,

           9.    PROCEDURES TO BE OBSERVED:

           a) Becauseofourneedtoknow everyoneinvolvedjnthetransactionsandaccountsin
           question,confidentiality is importantto preventthe sujpects obtaining knowledge ofthis
           case priorto the conclusion ofthe investigations and t? preventthe transferofasiets by
           thesusgects untilwe havea betterunderstanding ofthesituation,thusunderminingour
           agency s efforts;                                                                -M
                                                                                                 .....-
           b) Our Iocal contad is GABRIEL MACIAS with the Regional S       w
                                                                             lcurity Office -
           Investigations (DSS/ARSO-Iofficer)atthe U.S. onsulate Generalin lfe.
                                        September8, 0 - ReFif .
                                                              1
                                                              l
                                      WAGNER FU         DO MEjEZES
                                         Detecti e - FederalPolice
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 23 of 50




                                                 SENATE




                            TREAW W ITH BRAZIL ON M UTUAL LEGAL
                              ASSISTAN CE IN CRIM INAL M ATTERS




                                              M ESSAGE
                                                   FROM


                  TIIE PREK DENT 0F THE PNITED STATEF
                                               TEANSM ITTING
                  TREATY BETW EEN THE GOVERNMENT OF THE UNITED STATES
                   OF AM ERICA AND THE GOVERNMENT OF THE FEDEM TIVE RE-
                   PUBLIC OF BRARIL ON M UTUAL LEGAL ASSISTANCE IN CRIM I.
                   NAL M ATTERS,SIGNED AT BM SILIA ON OCTOBER 14, 1997




                                                qt
                                                 ès
                   APRIL 28, 1998.- Treaty was read the t'  irst time and, together with the
                    accompanying papers, referred to the Committee on Foreign Relafions
                     and ordered to be printed for the use of the Senate.

                                      U.S.GOVERNMENT PRINTING OFFICE
                   59-118                     WASHINGTON :1998
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 24 of 50




                                 LETTER OF TRAN SM ITTAL


                                              THE W HITE H OUSE,April28,1998.
                TotheSenateofthe United States:
                  W ith a view to receiving the advice and consent ofthe Senate to
                ratification, 1 transm it herewith the Treaty between the Govern-
                m ent ofthe United States of Am erica and the Governm ent of the
                Federative Republic of Brazilon M utualLegalAssistance in Crim i-
                nal M atters, signed at Brasilia on October 14, 1997. l transmit
                also,for the inform ation of the Senate,the report of the Depart-
                m entofState with respectto the Treaty.
                   The Treaty is one of a series ofm odern m utuallegal assistance
                treaties that the United States is negotiating in order to counter
                crim inal activities m ore efectively.The Treaty should be an effec-
                tive tool to assist in the prosecution of a wide variety of m odern
                crim inals, including those involved in terrorism , other violent
                crip es? drug traflcking,m oney laundering,and other dfwhite-col-
                larn crlm e.The Treaty is self-executing,and willnot require new
                legislation.
                   The Treaty provides for a broad range ofcooperation in crim inal
                m atters.M utualassistance available under the Treaty includes:
                  (1) Locating or identifying persons or item s; (2) serving docu-
                ments;(3)taking testim ony or statem ents of persons',(4)transfer-
                ring personsin custody fortestimony orotherpurposes;(5)provid-
                ing docum ents, records, and item s; (6) executlng requests for
                searchrsand seizures;(7)assisting in proceedingsrelated toimmda-
                bilizatlon and forfeiture of assets, restitution, and cgllection of
                fines; and (8) any other form of assistance not prohiblted by the
                laws ofthe Requested State.
                  I recom m end that the Senate give early and favorable consider-
                ation to the Treaty and g'
                                         ive its advice and consent to ratification.
                                                           W ILLIAM J.CLINTON.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 25 of 50




                                   LETTER OF SUBNHTTAL


                                                         DEPARTMENT OF STATE,
                                                                     kvashington.
                The PRESIDENT,
                The W hiteH ouse.
                  THE PRESIDENT:1 have the honor to subm it to you the Treaty be-
                tween the Government of the United States of America and the
                Governm ent of the Federative Republic of Brazil on M utualLegal
                Assistance in CriminalM atters (tdthe TreatyM),signed atBrasilia on
                October 14, 1997.I recom m end that the Treaty be transmitted ttl
                the Senate forits advice and consentto ratification.
                   The 'rreaty covers m utual legal assistance in crim inal m atters.
                In recent years,sim ilar bilateral treaties have entered into force
                with a number ofcountries.This Treaty contains m any provisions
                sim ilarto those in the othertreaties.
                   The Treaty willenhance our ability to investigate and prosecute
                a variety of offenses,including dz'ug trafficlting, terrorism , other
                violent crim es,and m oney laundering and other white-collar crim e.
                The Treaty is designed to be self-executing and will not require
                new legislation.
                   Article 1 contains a non-exhaustive listofthem ajortypesofas-
                 sistance to be provided under the Treaty,including taking the tes-
                 tim ony or statem ents ofpersons;providing docum ents,records,and
                 item s;locating or identifying persons or item s'
                                                                 ,serving docum ents',
                 transferring persons in custody for testim ony or other purposes;
                 executing requests for searches and seizures' ,assisting in proceed-
                 ings related to imm obilization and forfeiture of assets,restitution,
                 and collection of fines;and providing any other form of assistance
                 notprohibited by thelaws ofthe Requested States.
                    The scope ofthe Treaty includes not only the investigation,pros-
                 ecutitm , and prevention of crim inal offenses, but also forfeiture,
                 restitution,and collection offines,and other proceedings related to
                 crim inal m atters,which m ay be civil or adm inistrative in nature.
                  M oreover,assistance underthe Treaty is to be provided withoutre-
                 gard to dual crim inality (f.e.,whether the conduct involved would
                 constitute an offense under the laws ofboth States).
                   Article 1(4)states that the Parties recoo ize the particular irn-
                 portance of com bating serious crim inal actlvities,including m oney
                 laundering and the illicit trafleking in firearm s,am m unition,and
                 explosives,and that the Parties shall provide each other with as-
                 sistance with respect to such m atters.However,the paragraph w as
                 notintended by the negotiators to require the Parties to give prior-
                 ity or special treatm ent to assistance with respect to the speciied
                  offenses'
                          , accordingly,the paragraph expressly provides that fhe
                                                  (Akr
                                                     )
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 26 of 50




                                                V1

               com m itm entto provide assistance regarding spch offenses im poses
               no limitation on the scope ofassistance establlshed under the A'   rti-
               cle.
                  Article 1 also states explicitly that the Treaty is intended solely
               for m utual legal assistance between the Parties.The Treaty provi-
               sions shallnot give rise to a righton the partofany private person
               to obtain,suppress,or exclude any evidence,or to im peded the exe-
               cutiot
                 Ar nico
                       lf
                        e a2request. for the establishm ent of Central Authorities
                             provides
               and defines the CentralAuthorities for Jturposes ofthe Treaty.For
               the United States, the Central Authorlty shall be the Attorney
               General or a person designated by the Attorney General. For
               Brazil,the CentralAuthority shallbe the M inistry ofJustice.The
               Article provides that the Central Authorities shall m ake and re-
               ceive requests pursuant to the Treaty, and that the Central Au-
               thorities shallcom m unicate directly with one another for purposes
               ofArt
                  theic
                      Treat
                       le 3 y.
                            sets forth the circum stances under which the Central
               Authority of the Requested State m ay deny assistance under the
               Treaty.A request m ay be denied ifit relptes to a military offense
               that would not be an offense under ordm ary crim inal law; if its
                execution wouldprejudicethesecurity orsimilaressentialinterests
                ofthe Requested State;or ifthe request is not m ade in conform ity
                with the Treaty.
                  Before denying assistance under Article 3,the CentralAuthority
                of the Requested State is required to consult with its counterpart
                in the Requesting State to consider whether assistance can be
                given subject to such conditions asit deems necessary.Ifthe Re-
                questing State accepts assistance subject to conditions,it is re-
                quired to com ply with them .If the Central Authority of the Re-
                quested State denies assistance,it must inform the Central Au-
                thority ofthe Requesting State ofthe reasons for the denial.
                   Article 4 prescribes the form and contents ofrequests under the
                Treaty, specifying in detail the inform ation required in each re-
                quest.The Article provides that requests for assistance shallbe in
                writing except that the Central Authority of the Requested State
                m ay accept a requestin another form in urgent situations.ln such
                cases,unless the Central Authority of the Requested State agrees
                 otherwise,the request m ust be confirm ed in writing within thirty
                 days thereafter.Unless otherwise agreed,allrequests and support-
                 ing docum ents shallbein the language ofthe Requested State.
                   Article 5 requires that the Central Authority of the Requested
                 State prom ptly execute requests or, when appropriate, transm it
                them to the authority havingjurisdiction to do so.The Articlepro-
                vides that the com petent authorities of the Requested State shall
                do everything in their power to execute a request.The Courts of
                the Requested State shall issue subpoenas, search warrants, or
                other ordersnecessary to execute the request.
                  The CentralAuthority ofthe Requested State m ust m ake allnec-
                essary arrangem ents for and m eetthe costs ofrepresentatitm ofthe
                Requesting State in any proceedingsarising out of a requestfor as-
                 sistance pursuant to the Treaty.Under Article 5(3),requests are to
                 be executed in accordance with the laws ofthe Requested State ex-
                 cept to the extentthat the Treaty providesotherwise.H owever,the
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 27 of 50




                                              V ll
               method ofexecution specifiedin therequestistobefollowed except
               insofar asit is prohiblted by the laws ofthe Requested State.
                 If the Central Authority of the Requested State determ ines that
               execution of a request would interfere with an ongoing crim inalin-
               vestigation,prosecution,or proceeding in that State,it m ay post-
               pone execution ()r,after consultations with the CentralAuthority of
               the Requesting State,im pose conditions on such execution.lf the
               Requesting State accepts assistance subjectsto such conditions,it
               m ustcom ply with them .
                 Article 5(5)further requires the Requested State,if so requested
               by the Requesting State,to use its best efforts to keep confdential
               a request and its contents.Ifthe request cannot be executed with-
               outbreaching such confidentiality,the CentralAuthority ofthe Re-
               quested State m ust so iqform the CentralAuthority ofthe Request-
               ing State. This provides the Requesting States with the okwor-
                tunity to decide whether to qursue the request or to withdraw it
                in orderto m aintain conldentlality.
                   Finally,Article 5 requires the CentralAuthority ofthe Requested
                State to respond to reasonable inquiries by the Central Authority
                of the Requesting State concerning progress toward execution of
                the request' ,to prom ptly inform such CentralAuthority ofthe out-
                com e of the execution of the request; and,if the execution of the
                request is denied, delayed,or postponed,to inform such Central
                Authority ofthe reasons therefor.
                   Article 6 apportions between the two States the costsincurred in
                executing a request.ltprovides that the Requested State shallpay
                 all such costs,except for the following item s,which shall be paid
                 by the Requesting State: fees of expert witnesses, the costs of
                 translation,interpretation, and transcription,and the allowances
                 and expenses related to the travelofpersons pursuant to Articles
                 10Art
                    andicl11.
                          e 7 provides that the Central Authority of the Requested
                 State m ay request that the Requesting State not use any inform a-
                 tion or evidence obtained under the Treaty in any investigation,
                 prosecution,or proceeding other than that described in the request
                 withoutthe prior consentofthe CentralAuthority ofthe Requested
                 State.The CentralAuthority of the Requested State m ay request
                 that inform ation or evidence furnished under the Treaty be kept
                confidentialorbeused only subjectto termsand conditionsitmay
                specify.lfthe Requesting State acceptsthe inform ation or evidence
                subject to such conditions, it shall comply with the conditions.
                These lim itations on use to not preclude a constitutionally required
                disclosure or use ofinform ation in a crim inalprosecution.Advance
                notice by the Requesting State ofsuch disclosure or use is required.
                Once inform ation or evidence has been m ade publicin the Request-
                ing State in a m anner consistent with the other provisions of the
                Article,no further lim itations on use apply,and the inform ation or
                evidence m ay thereafterbe used for any purpose.
                  Article 8 provides that a person in the Requested State frc'      m
                whom evidence is required pursuant to the Treaty shall be com -
                pelled,if necessary,to appear and testify or produce docum ents,
                records,or item s.The Article requiresthe CentralAuthority ofthe
                Requested State,upon request,to inform the Requesting State in
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 28 of 50




                                               RTIIl
                                                ofthe talking oftestim ony or evi-
               advance aboutthe date and place
               denee.
                 Article 8(3)also requiresthe Requested State to perm itthe pres-
               ence ofpersons designated in the request during the execution of
               the request,and to allow such persons to present questions to be
               pcsed to the person giving the testim ony or evidence.Article 8(4)
               provides that,in the event that a person whose testim ony or evi-
               dence is being taken asserts a claim of im munity,incapacity, or
               privilege under the laws ofthe Requesting State,the testim tmy or
               evidence shallnonetheless be taken and the claim m ade known to
               the Central Authority of the Requesting State so that the claim
               m ay be resolved by the authorities ofthat State.
                 Finally,Article 8(5)provides a m echanism for authentication of
               docum entary evidence produced pursuant to thisArticle.A form for
               use regarding business records is included as an appendix to the
               Treaty (Form A). Records authenticated by m eans of such form
                shallbe adm issible in evidence in the Requesting State.
                  Article 9 requires that the Requested State provide the Request-
                ing State with copies ofpublicly available records in the possession
                of authorities in the Requested State.The Requested State m ay
                further provide copies ofany records,including docum ents or infor-
                m ation in any form ,that are in the possession of authorities in
                that State,but that are not publicly available,to the sam e extent
                and under the sam e conditions as such copies would be available
                toitsown law enforcementorjudicialauthorities.However,theRe-
                quested State has the discretion to deny such requests entirely or
                in part.Such official records m ay be authenticated by the official
                in charge of m aintaining them through the use of Form B ap-
                pended to the Treaty.Docum ents authenticated through the use ()f
                such form shallbe adm issible in evidence in the Requesting State.
                   Article 10 provides a m echanism for the Requesting State to in-
                vite the voluntary appearance in its territory of a perstm located
                 in the Requested State.The Requesting State is required to indi-
                 cate the extent to which the expenses of the person will be paid.
                 The CentralAuthority of the Requested State is required to invite
                 the person to appear and promptly to inform the Requesting State
                 ofthe person'sresponse.
                   Article 10 further provides that the CentralAuthority ofthe Re-
                 questing State has discretion to determ ine that a person appearing
                in thatState pursuanttothisArticle shallnotbesubjectto service
                ofprocess,detained,or subjected to any restriction ofpersonpllib-
                   ty by reason of acts or convictions thatpreceded the person's de-
                er
                parture from   the Requested State:The CentralAuthority ofthe Re-
                 questing State is required to notAfy the Requested State's Central
                 Authority whether such safe conduct shall be extended.Any safe
                 conductprovided for by thisArticle shallcease seven days after no-
                 tifîcation by the Central Authority of the Requesting State to its
                 counterpartin the Requested State thatthe person's presence is no
                 longer required.The safe conduct shall also cease if the person
                 leaves the Requesting State butvoluntarily returns to it.An exten-
                 sion ofup to sfteen days m ay be granted by the Requesting State's
                  CentralAuthority in its discretion.
                    Article 11 provides for the temporary transfer ofa person in cus-
                  tody in the Requested State to the Requesting State for purposes
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 29 of 50




               of assistance under the Treaty,provided that the person in ques-
               tion and the CentralAuthorities of both States agree.For exam ple,
               a witness incarcerated in the Requested State m ay be transferred
               to the Requesting State to have his deposition taken in the pres-
               ence of the defendant.The Article also provides for the transfer of
               a person in the custody of the Requesting State to the Requested
               State for purposes of assistance under the Treaty,subject to the
               consent of the person and the CentralAuthorities of both States.
               For example,a defendant in the Requesting State m ay be trans-
               ferred for purposes of attending a witness deposition in the Re-
               quested State.
                  Article 11(3) further establishes the express authority and the
               obligation ofthe receiving State to maintain the person transferred
               in custody unless otherwise authorized by the sending State.ltfur-
               ther obligates the receiving State to return the person to the cus-
               tody of the sending State as soon as circum stances permit or as
               otherwise agreed by both States,and the sending State need not
               initiate extradition proceedings for return of the person trans-
               ferred.The person transferred shallreceive credittoward sen-ice cf
               the sentence im posed in the sending State for tim e served in the
                custody ofthe receiving State.
                  Article 12 requires the Requested State to use its best efforts to
                ascertain the location or identity of persons or item s specified in a
                request.
                   Article 13 obligates the Requested State to use its best efforts to
                effect service ofany docum ents relating,in whole or in part,to any
                request for assistance under the Treaty.A request for the sezwice
                of a docum ent requiring a person to appear before an authority in
                the Requesting State m ustbe transmitted within a reasonable tim e
                prior to the scheduled appearance.The Requested State is required
                to return proof of service in the m anner specified in the request.
                   Article 14 obligates the Requested State to exeeute requests for
                search,seizure,and delivery of any item to the Requesting State
                iftherequestincludestheinformation justifying such action under
                the law s ofthe Requested State.The Article provides that,upon r()-
                quest,every officialofthe Requested State who hashad custody of
                a seized item shallcertify,through the use ofForm C appended to
                the Treaty,the description of the item ,the continuity of its cus-
                tody,and the integrity of its condition.No further certification is
                required,and the certzficate shallbe adm issible evidence in the Re-
                questing State.Article 14 further provides thatthe CentralAuthor-
                ity of the Requested State m ay impose upon the Requesting State
                term s qnd conditions deem ed necessary to protectthird party inter-
                estsin ltem s to be transferred.
                  Article 15 requires the CentralAuthority ofthe Requested State,
                upon request ofits counterpart in the Requesting State,to return
                as soon as possible any docum ents,records,or item s furnished to
                itin execution ofa requestunder the Treaty.
                  Article 16 provides that,ifthe CentralAuthority ofone Party be-
                com es aw are of proceeds or instrum entalities of offenses that are
                located in the territory of the other Party and m ay be forfeitable
                 orotherwisesubjectto seizure underthelawsofthatParty,itmay
                 sclinform theCentralAuthority oîthatParty.lfthatParty hasju-
                 risdiction,it m ay present this inform ation to its authorities for a
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 30 of 50




                                                X

               determ ination whether any action is appropriate under its law s,
               and such authorities shall,through their Central Authority,notify
               the other Party of any action taken.
                  Article 16 also obligates the Parties to assist each other,to the
               extent perm itted by their respective law s,in proceedings relating
               to forfeiture ofproceeds and instrum entalities of offenses,restitu-
               tion to victim s ofcrim e,and the collection offines im posed as sen-
               tences in crim inalproceedings.Such assistance m ay include action
               to tem porarily im mobilize the proceeds or instrum entalities of
               crim e pending further proceedings.A Party having custody over
               proceeds or instrumentalities of offenses is required to dispose of
               them in accordance with its laws.Either Party m ay transfer a11 or
               part of such assets,or the proceeds oftheir sale,to the other Party,
               to the extent permitted by the transferring Party's laws and upon
                such term s as it deem s appropriate.
                  Article 17 states that assistance and procedures set forth in the
                Treaty shall not prevent either Party from granting assistance to
                the other Party under other applicable internationalagreem ents,or
                through the provisions ofits national law s.The Parties m ay also
                provide assistance to each other through the provisitm s of any bi-
                lateral arrangem ent, agreem ent,or practice that m ay be applica-
                ble.
                   Article 18 provides that the Central Authorities of the parties
                shall consult,at times m utually agreed upon,to prom ote the m ost
                efrective use of the Treaty,and m ay agree on such practical meas-
                ures as m ay be necessary to facilitate im plem entation of the Trea-
                ty.
                   Article 19 states that the Treaty shall apply to requests pre-
                sented after the date ofitsentry into force,even ifthe actsor om is-
                sions constituting the offense occurred before thatdate.
                  Article 20 providesthatthe Treaty is subjectto ratilcation and
                shallenter into force upon the exchange ofthe instrum ents ofrati-
                fication.The Article also provides that the Parties m ay am end the
                Treaty by mutual agreem ent, and any such am endm ent would
                enter into force upon a written exchange of notifications between
                the Parties, through the diplom atic channel,that all dom estic re-
                quirements for its entry into force have been com pleted.Article 20
                further provides that either Party m ay termînate the Treaty by
                written notice to the other Party.Such term ination would take ef-
                fectsix m onths following the date ofnotification.
                   A Technical Analysis explaining in detail the provisions of the
                Treaty is being prepared by the U nited States negotiating delega-
                tion,consisting ofrepresentatives from the Departm ents of Justice
                 and State,and willbe transm itted separately to the Senate Com -
                 mittee on Foreign Relations.
                  TheDepartmentofJusticejoinsthe DepartmentofStatein rec-
                om m ending approvalof this Treaty by the Stm ate as soon as pos-
                sible.
                  Respectfully subm itted.
                                                            M ADELEINE M BRIGHT.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 31 of 50




                                          TRPM Y BZM EN
                          TH2 GOVER- NT DF tHz UN'TED STATES W W RICA
                                                Ar
                        THE GovRouMveT OF TFE FEDERATIVE REPUBLIC OF BRKZIL
                                                 ON
                            MUTUAL LEGhL ASSISTANCE ZN CRIMINAL MKTTERS




                                                 (1)
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 32 of 50




                                                2


                                          TABLE o/ QOMYRMYS

                  Article 1                                Scope of Aaaiytlnce
                  Artiele 2                                Centrat Authoritiel
                  Krticle 3                           Liwitations on Aasilb-no.
                  Articl. 4                      Fox- *nd content* of Roqwelt.
                  Artiglo 5                               Exloution of Roqulgt.
                  Krtàcle 6                                                Colt.
                  Artiele 7                                   L*
                                                               '-ltation. oa r.e
                  Articlœ 8                               Tel*m'-nny or Evidenoœ
                                                         ia th* Requol+-a stwtœ
                   Artàci.   9                                  offtcial Rleordl
                   Artiol.   10              T*ltq'-nuy in th. aequlating state
                   Artiole   11                 Tranlflr of Permous in Cuatody
                   Artiolo   12                      Tmoxtion or Idlntàfieltion
                                                             of Plrlons or 1*---
                   xrticle 13                               slrvice of Do-x--ntl
                   Arkitie 14                                 spwrch and S*txure
                   xrtiole 15                                    Rlturn of '*--e
                   Articie 16             Aalil*-no. in Forfeitur. Prooeoding.
                   Artieie 17                coppatibàlity with Other Treltie.
                   Article 1Q                                       conlultwtion
                   Artiele 19                                         Applicltion
                   Artiozœ 20                  Rwtification, Entry Ioto Fproey
                                                                 œnd Tœ--f'natlon



                   Porm A Clrtificwt. of Authwntkcity of Bulinel* Recordl
                   Form B Atte*tation oe Authenticity of Poreign nkhlic Do- -onea
                   Form c Ktteatation With Melplet to Seiwed Articlel
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 33 of 50




                                                   3




                        The Govornment of th@ United states of America and the
                  Government of th* Federative Republic of Bramil,

                        Desiring to improve the effectiveneas of the law enforeement
                  authorities of b0th countries in khe invegtigation, prosocution,
                  and prevantion of crime through cooperltion and mutual legal
                  assistance in criminal matters

                        Have agroad aa follows:
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 34 of 50




                                                      4
               '


                                                Artiole 1
                                           Scope of Assiatancl

                              The Parties shall provide mutual assistance: in
                   lceordance with the provisions of this Treaty, in connectàon with
                   th* investigationg proaecutione and prevention of offensesr and in
                   proceedings related to criminal mattlrs.

                         2.    Aasistance shall include:
                               (x) tœking the testimony or stat-monta of persons;
                               (b) providinq documentl, reeordsp and itema;
                               (c) locating or identifying persons or itema;
                               (d) serving documqnts;
                               (e) transferting persons in cuskody for teltimony or
                                    oEhlr purposea;
                               (f) exacutinq requests for searches ahd seizurea;
                               (g) assistknq in proceodings relœted to immobilization
                                    and forfeitur. of asseta; reatitution; collection
                                    of fines; and
                                (h) any other foxm of assistanre nok prohibited by the
                                    laws of the Requested State.

                          3.    Assistanca ahall b. provided without regard to whether
                    the conduct that is the subjlct of the investigation: prosecution,
                    or proeeeding would bm puniahable under the leqislation in b0th

                    States.
                               ehe Partiea rocognize the particular importance of
                    combating serioua criminal activikieg, ineluding moaey laund/zing
                    and the illicit Erafficking in firearms, xmmunition and explosives.
                    Without limitation to the acope of assistlnce established in this
                    Article, the Partioa shall provide elch other assistance on such
                    matters in accordance with this Troaty.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 35 of 50




                                                   5

                       5. This Treaky is iptended soîeky for mutual legal
                 assistance between the Partiea. The proviaions of this Treaty
                 shall not give riae to a right on the part of any private person to
                 obtain suppreas, or exclude any evidence/' or to impede the
                       l
                 execution of a request.
                                                Article 2
                                           Central Authorities

                             Each Party shall designate a Contral Authority to make
                 and receive requeats pursuant to this Traaty.

                            Vou the United States of America, the Centraï Authority
                 shall be the Attorney General or a person designated by the
                 Attorney General. For the Federwtive Republic of Brazil, the
                 Central Authority shall be the Ministry of Justice.

                        3.   The Central Authoritiea shall commupicate directly with
                  one another for the purposea of this Treaty.

                                               Article 3
                                       Limitationa on Aysiytance

                             The Central Authority of the Requested State may deny
                  asaistance if:
                              (a) the requeat relatea to an offense under military
                                   law which would not be an offensa under ordinary
                                   ariminal law;
                              (B) the execukion of th. request would prejudice the
                                   securiEy or sa'-q'lar essential interesta of the
                                  Requested State; or
                              (c) *he roquest is not made in conformity with the
                                   Troaty .

                         2. Beforo denying assiatance pursuant to this Articlo # tho
                   Central AuEhority of the Requested State shall consult with the
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 36 of 50




                                                  6
              '



                  Central Authorâty of the Rlqu*lting State to consider whether
                  assigtance can be givan aub:eet to auch conditiona aa it deema
                  neceasary. If the Requesting State accepta aasistance subject to
                  these eonditions, it shall comply with the conditions.

                        3. If the Central Authoriky of *he Requested State denies
                  assistance, it shall inform the Central Authority of the Requestinq
                  State of th* reaaons for the donial.

                                               Arkicle 4
                                     Form and Contents of Requests

                             K request for aasistance shall be in writing axcepk that
                  the Central Authority of the Requlst*d State may accept a request
                  in another form in urgenE aituakionl. In any such ease: if the
                  request is not in writing: it shall be confirmed in writing within
                   thirty days thereafter unleaa the C*ntral Authority of the
                   Requested State agreea otherwise. The request shall bo in khe
                   language of the Requostqd Stlte unless otherwise agreed.

                         2.   The roquest shall include the following:

                               (a) the name of the authority conducting th@
                                   investigatioa: prosecukion; or proceeding to which
                                   the request relakas;
                                   a description of the subject matter and nakure of
                                    the inveatigation # proaecution T or proceeding,
                                    including, to the extent known, the specific
                                    criminal offenses that relate to the matter;
                               (c) a description of th* evidence, informxtion: or
                                    other aaaiatance aought; and
                               (d) a statement of tho purpoae for which the evidonee,
                                    information, or othar aaaistance is sought.
                                                                                        I
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 37 of 50




                                                 7

                           To the extgnt neoeaaary .nd possible, a request ahall
                 also inelude:
                           (l) information on tha identity and loeation of any
                                 person from whom evidence is aought;
                            (b) information on the identity and location of a
                                 person to be served, that peraon's relationship to
                                 the prooaadings, and the manner in which aerviee is
                                 to be mwde;
                            (e) information on the id/ntity and wherqabouts of a
                                 peraon to be loclted;
                            (d) a precisq doscription of the place or peraon to be
                                 searched and of the items to be seixld;
                            (e) a description of the manner in which any testimony
                                 or ltatement is to be kakon and reeordod;
                            (f) a lish of queationa Eo be asked of a wiknoss;
                            (g) a description of any particular procedure to be
                                  followed in executing Eh* request;
                             (h) information ae to the altowances and expensas to
                                  which a person askod to appear in the Requesting
                                  State will be entitled; and
                             (i) any other informAtion that may He brought to the
                                  attention of khe Requeskad State to facilitate the
                                  execution of th@ requesE.

                                                Article 5
                                          Execution of Rpquests

                        1. The Central Authority of the Rlquested State shall
                  prompkly execute th* requea: orr whln appropriatey shall krlnsmit
                  it to the officials having authority to do so. The competent
                  officiais of the Roquosted state shall do everythàng in their power
                  to execute the request. The Courts of thq Requelted State shali
                  kssue subpoenas, search warrants# or other ordqrs nqceasxry to
                   execute the requost.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 38 of 50




                                                 8

                            The Central Authoxiky of the Requested State shall maka
                 all necessary arrangements for and moet the costs of the
                 representation in tha Requested State of the Reguesting State in
                 any proceedings arising out of a request for assistance pursuant to
                  this Treaty .

                        3. Requeatg shall be exe/uted in aecordanea with the laws
                  of the Requested State except to th* extent thaE thia Treaty
                  provides otherwise. Rowever: the method of execukion specified in
                  tho roquost shall be folloeed exuep: insofar as it ia prohibited by
                  the laws of the Requeated State.

                             If Ehe Central Authority of the Requesked Stata
                  determines that execution of a requqst would interfere with an
                  ongoing criminal investigation proaecution: or proceeding in that
                  State, it may postpone execution, or make execution subjeet to
                  conditions determined to be nqcessary aftar consultations with the
                  Central Authority of the Requestkng State. If the Requesting State
                  accepts the assiatance subjeet ko the conditiohs, it shall comply
                  with the conditions.

                         S. The Requasted Stako shall use ita bost efforts to keep
                   confidential a requese and its contents if suc: confidlntiality is
                   requested by the Central Authority of tha Requesting State. If the
                   request cannot be executed without breachinq such confidentkalkty,
                   the Central Authority of the Requested State shall so inform the
                   Central Authority of the Requesting State, whioh shall then
                   datermine whether the requpst should nevertheless be executed.

                         6. The Central Authority of the Kequested State shall
                   reapond to reaaonabll inqutries by th* Clntral Authority of the
                   Requesting State concerning progreas toward execution of the
                   request.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 39 of 50




                                                 9


                       7. The Cenkrll Authority df the Requeated State shall
                 promptly inform the Central Authority of the Reqvesting State of
                 the outcome of the exeeution of the requeat. If the execution of
                 the request is deniodp delayed, or poatponod? the Central Authority
                 of the Roquestea State shall inform th* Central Authority of the
                 Requosting State of the reasons for th@ denial, delay, or
                 postponement.

                                              Atticle 6
                                                 Costs

                       The Requeated State shall pay a11 costs relattng to the
                 execution of the request except for the fees of expert witnessls,
                                         #
                 the costs of tranalation, interpreka*ion, and tranlcripkion, and
                 the allowances and lxpenaes related to travel of peraons pursuant
                 to Articles lD and 11: which fega, costa, allowances, and mxpensel
                  shall be paid by th* Requeating Stat..

                                               Aricle 7
                                          Limitations on Use

                             The Central Authority of the Requasked Stato may rpqueat
                  that the Requesting sEate not us@ any information or evidgnce
                  obtained under this Treaty in '
                                                any ànveatigation, propecutiony or
                  proceeding other than that describod in khe requost eithout the
                  prior consent of the Central Authority of the Requepted State. In
                  auch cases, Ehe Requeating State shall comply wikh the conditions.

                         2. The Central Authority of the Requested State may roquest
                   that informatàon or evidenoe furnàshed under this Treaky be kept
                   confidential or be used ohly aubject to terms wnd eonditions it may
                   apecify . lf the Requesting SEate acoepks the information or
                   evidence subject to auch conditionse the Requesting State ahall
                   comply with th* conditions.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 40 of 50




                                                    10

                         3.    Nothinq in this Articie lh*ll Prlclude the u>. or
                 diacloaura of information to the extent thlt thare is an obligation
                 to do lo undar th* Conatitution of th* Requeltinq State in a
                   iminal prosecution. The Rpquesting State shall notify the           l
                                                                                       i
                 cr
                 Requested State in advance of *ny yuch proposed diaclosure.

                       4. Infoo-xkion or evidlnce thlt h*s begn mada public in the
                 Requosting Stat. in a manner conaistlnt wikh paragraph 1 or 2 may
                 theroafter be used eor any purpoae.

                                                 Article :
                                Tlstimony or Evidenc. in th. Requoltqd Stato

                             A person in the Rgqueatld stlt. from whom testimony or
                  evidence ia rlquested purauant to thil Treaty shall bo compelled.
                  if necessary, to appear and teatify or produce doouments: records,
                  or items .

                        2. Upon requeat: the Central Authority of the Requasted
                  State shall furnish information in advance about the datl and placa
                  of the taking of khe tgstimony or evidence pursuant to this
                  Articlo .

                        3. The Rlquosted Stlte shall permit the preaence of such
                  plraons as speeified in the rwquest during the execution of the
                  rlquest, and shall allow auch perlona to preyont questions to be
                  lsked of th* peraon givinq Ehe testimony or evidence.

                          4. If the paraop referred to in paragraph 1 ass/rts * claim
                   of a'-munity, incapacity, or priviiege under the laws of the
                   Rlquaating Statg, the teatimony or ovidence ahall nonethatess he
                   tlkln and thp 01*1m made known to the Central Authority of the
                   Requesting Stake ao Ehlt th* olaim may be resotved by the
                      authorities of that State.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 41 of 50




                                                 11

                      S'    Rvidenee produo.a fn th. pequelt*a state pur*u*nt to
                 thi* Artiol. or which ia the aub:mct of testimony tak*n und*r thîl
                 Articl* mqy ba authantieated by an ltteatation, including. in the
                 c*s* Of bhsinesa records, authentication in the manner indiea+-a in
                 Form A appendqd to this rxaaty. oocuments authentieated by Foro A
                 shall be adaiasibl. lvidence iu th. Rlqueltàng State.

                                               Artloze 9
                                            ofekciai Rlcorda

                            Th* waqulse-a stet. *h*ll provàdw th* Meque*tiag St*te
                 Yith Qopiel of publicly avlilahl. racords, inmluding doc*.---t. or
                 info---tion in any rorm, kn th: posgexlton oe authorities in th.
                 Rlqulatla stat..

                        2. The Requestld state wwy provide copils of *ny racords,
                  includàng doeumenta or àneov--tion Nn .ny form, that *re in thœ
                  Po*l***ion of authorkties is that statl, but that *re not publlcly
                  Avlilable, to th. saw. oxtlat .nd und.r th. sam. conditioss ls luoh
                  copiel would h. Avaizable to it> owa 1.w enforoement or judioial
                  authorities. =h. aaquastod stxea way ks kts discretion dlny a
                  request pursulnk to this paravraph entirely or in part.

                             oef:oiai reooraa produr.d pursuant to this Artiul. may
                  be avthenticetod by th. offieilz ks eharv. oe maàn*aknknq th..
                  through the us. or Form s lpplna.a eo this Treaty . No furthor
                  œutheltioxtkon shazz so uluassarv. po-- enta authlptioated vndex
                  thk, plrlgrœph whatl b. adoàaskbz. evtdenoe in the Roqqewting
                   stwto.

                                                x.t:.l. zo
                                     Testtoony in the Requeltlng state

                              When th@ Rlqulattpq stat* requ*wtl the *ppeœrœno* of œ
                   peelon iu thœt stweo th. Rlquœat.d statœ lhlll invtt. th. perlon
                                        #
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 42 of 50




                                                12

                 to app*ar b*for. th@ lppzopriate œvthority in th* Rwquelting Stat..
                 Th* Requesting stlt. sha'l kndicat. th* extent to which th*
                 explnsls will be paid. The Centrwl Aukhority of th@ Requeated
                 State ahall pxomptiy inform the Central Authority of the Requestàng
                 State of the respons. of th. perlon.

                       2. Th* Central Authority of kh* Requeating Stwte may, in
                 itl dilcretion, detl--f'n. thet * plrlon lppearing in the Requelting
                 Stltl purluant Eo thil ADYiQI. lhall not be lubjlct to apKvic. of
                 proclma: or b. dltlinœd or aubjec+-8 to Kny r*ltriction of p*rlonal
                 ILberty, by reaaon oE œny aqty or convictioal khat pree*d.d his
                 dlpatture eroa the Requlsted state. 2hœ Clntrll Kuthority of the
                 Requgsting State shall pro-ptly inform th. ceatral Authority of the
                 R*queatld State whether sqch aafe eonduct shall be extended.

                        3. The saf. conduet proviA-a for by this Aztiole phall
                  ceal. sev*n dayl aftlr th* Clntrœl Authoràty of kh* Requllting
                  Stlte ha> notifi*d the Centrll Authority of th. Aequested stœte
                  thlt th* peraon'a prea@ac. il no Ionger required, or when the
                  perlon, hwving left th@ Requalting Skat*, voluntarily rwturns. The
                  Centrll Authority of th* Reque*ting Etatg may, in &t> dilcxltion,
                   wxtend khil plriod for vp to fiftlln daya.

                                               Artàcle 11
                                     Tranlf*r of Tlr*onl in Custody

                         1. A plxson in th@ oultody of the Requestld State whol.
                   preslnc. in the Rlqulating Stlte il sought for purpolgl of
                   assistance under thàa Treaty yhall b/ tranaferred fro. the            '
                   Requeated State to th* Rlqu*ating State for thwt purpos. if the
                   peraon conaeats and ïf the central xuthorîtie. oe b0th statey

                   agrpe.2.   A p*rlon in the cuatody of th* R@quelting State whoae
                   prasence iw the Requel+-- Sta:e il loueht for purpole. oe
                   aaaistance under thia Tr*œty aay be trln*fwrred fro. the Rwquelking
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 43 of 50




                                                  13

                 Stlte to the Requested Statl if th. plrson conlentl ana if the
                 Clntral Authoritigs of b0th States agree.

                              For purposes of tbis Article:

                              (a) the receiving Stltq shall have the authority and
                                  the obligation to kllp tho person tranaflrred in
                                  custody unleaa otherwiae authorizld by th* s/nding
                                   Statl;
                              (b) th@ rlceivilq itlt. ahlll rlkurn the peraon
                                  tranlfarred ko the custody of th* londing Stwte a>
                                   soon la eircum*tlncoa plrmit or aa'otherwiae agreod
                                   by b0th Clntral Kuthoritiea;

                               (c) th* reeeiving Stxtp lhlll not require th* sending
                                   State to initiat@ *xtradikion proclodinga for the
                                    rlturn of tho plrlon transflrr/d; and

                               (d) th* perlon tranaflrrld shwil recliv. crwdït for
                                    aarvic. of the slnt*nce imposed in tho sondilg
                                    Statw fot tâ'-o lerved in the gustody of the
                                    rlceiving Stat..

                                                 Artiole 12
                               Locatioq or Identifloltioa ef Thrwons ot :*--5

                         Th* Requested State ahall u>a it> baat efforta to alcortain
                   th* àocation or idantity oE p*rlonl or itlas apecified in the

                   rlqullt.

                                                 xrticie Ia
                                            service of Do-.-ents

                                Th. Requelted Ntate ahall us* it* best efforts to effect
                   lervic. of Any doeumlnt r*latinq: àq wholl or in partz to .ny
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 44 of 50




                                                14


                 requllt eor asailtanc? made by *h. Requelting Stat. undar the
                 proviaions oe this Treaty .                                           !
                                                                                       l
                                                                                       t
                       2. The Requeoting State *hall trlnsmit any requeat for the
                 service of a document r*quiring the lppearanoe of a peraon before
                 an lvthority in the Requelting Stata within * rellonAbie time prior
                 to th* lchedulld apmearant..

                            The Requelted Ntate shall rlturn a proof of lervic. in
                 the m*nnlr *pecifild in the requelt.

                                              Arkàole 14
                                          Selroh and Slixura

                        1. The Mequeae-a Stlte shall *xecute a requeat for the
                  aearch, l*imur@, and dezàvlry of Any it*m to the Requeyting Statp
                  if th. rlqulst inclvdla th* infov--tion juatifykng such action
                  und.r th* lawy of th* Roqu*a+-a Statw.

                             Upon rlqulst/ evpry official who has custody of a s/ized
                  i+om shall oertify , through the u** of Form C applnd*d to thil
                  Trlatyr tho continuity of cuatody, the dlsoription of the itœx, and
                  th* integrity of it> condition. No further oertifioation shall bo
                  required. Form c shltl be ae-q'lsibl. pvidonce in th. Requesting

                  Stht..
                         3. Th* Clltrll Apthority of the Requeated Skate may require
                   thxt th@ Requ*stiag Stat. agr.. to th* tqrws and oonditiona deemld      !
                   to be necesaary to protlot third plrty intlrests in the itpm to be
                   tranl:erred.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 45 of 50




                                                15

                                             Article 15
                                           Return of Itema

                       Tbe Central Authority of the Requeated state may require that
                 tho Central Authority of tho Requesting State rotnrn, as soon as
                 possible any documenta, recorda, or iteas furniahed to it in
                 executkon of e reques: under this Traaty.

                                              Article 16
                                 Asliskance in Porfeïture Proceedings

                             If the Central Authority of one Party beûomes aware of
                  proceeds or inltrum/nkalities of offensea that ar* located in the
                  tqrritory of tho othgr Plrty .nd may be forfeitabl. or otherwise
                  subject to seizure qnder the laws of that Party/ it may so inform
                  the central Authoriky of the othor Party . If that other Party has
                  jurlldiction in thia ragard, it may preaent this infoa-ntion to its
                  authorities for a dotqrminltion whether any action is approptàate.
                  Thgae authorities shall isau* their dlcision in accordance with the
                  iawa of their country, and lhall, through thmir Central Authority:
                  report to the oeher Parky on the aotion taken.

                        2. The Partiea shall aasiat each other to the extent
                  permitted by their reapective laws in pxoceedings reiating to the
                  eorfeiture of thg proceeds and inskrumentalities of offensos:
                  restktution to the vietima of erime, and tha collection oe fines
                  imposqd as senklnces in criminll prosecutions. Such eslistance may
                  include action to eomporarily l--obiliw. the proeeeds or
                  instrumentalitiea pending furthlr proceedinga.

                         3. The Pârty thwt has cuatody over proceeds or
                   instrumentalitiea of offlnsls shlll dispoae of them in accordance
                   with ita laws. Eiiher ParKy may tranafer a1l or part of such
                   assets, or the prooeeds of their sale, to the other Parky. to ehe
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 46 of 50




                                                  16

                 exkeat permitted by the transfmrring Party's laws and upon such

                 terms aa it deema appropriate.                                          l
                                                                                         4
                                                                                         1
                                               Article 17                                t
                                    Compatibility eith Oth/r Treaties

                       AsaisEanco and prociduxes >ot forth in this Treaty shail not
                 pxevent oither Party from granting assistance to the other Party
                 through the proviâions of other applicable international
                 agreements, or through th* provisiony of its national laws. The
                 Parties may also provide assistanc/ ko eaoh other pursuant to any
                 bilatmrll arvangemenk, agrlement, or practice that may bo

                  applicablo.

                                                Artiele 18
                                               Consultation

                         The Central Authorities of kbe Parkies shatl consult, at
                   times mutually agr*ed to by them, to promote the most effectivo uaû
                   of thia Treaky. The Csntral Authorities may also agree on such
                   praotical measures as may be neclasary to flcilitate the
                   implementation of this Treatv .

                                                 Article 19                                  !
                                                 Application

                         This Treaty shall apply to any request presented after tha
                   date of its entry into force, even if the acts or omissiona
                   constituking the offenae oceurred befor, that date.

                                                  Artici. 20
                                Ratification, Entry Into Force: and Termination

                                 This Treaty shall be lubjeck to rakification, and the
                    instruments of ratification shall be exchanged as aoon as possible.
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 47 of 50




                                                        17



                         2.         This Treaty shalt enter into force upon the exchange of
                    the instruments of ratification.                                          l
                ?                                                                             !
                               The Partiaa may amewd this Treaty by mutual agreement:
                    and any such amendment shall enter ànto forco upon a written
                    exchwnge of notifications betveen the Plrkies# through the
                    diplomatiu channel that all domqstic raquirements for its ontry
                    into force have beon completed.

                          4. Either Plrty may terminate this Treaty by means of
                    written notice: through the diplomatie channel, to the other Party.
                    Tgrmination ahall take effect aix months following the date of

                    notification.

                          IN WITNESS WHEREOF: the undersigned, beinq duly authorixqd by
                    their respective Governmqnts, have signed this Treaty.

                           DONE at Brasilia/ in duplicake,this          1%t-
                                                                           u
                                                                                   day of
                     Octobar, 19974 in the English and Portugueae languag*sy both toxts
                     being equally authentic.
                                                                               $

                              ..
                                   w- .   () .
                     FOR THE GOVEQHMRNT OF THE           FOR THE GO      HT OF THZ
                     UNITED STATES OF AMMRICA:           FEDERATIVE REPUBLIC OF BRAZIL:
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 48 of 50




                                                    18




                                   FORM A (For Use Wtth Artiele 8)                        !
                                                                                          $
                                    CERTIFICATE OF AUTHENTICITY OF
                                           BUSINESS RECORDS

                       1,                       -           , aktest On penalty ok
                                     (NaMe)
                 crixànal punishment for false stateaent or false attestation that

                 I a> employed by
                             Naue of Business from which documents are sought)
                             (
                 and that my official title is
                       I further state that each of the records atEached hereto is
                  the original or a duplicate of the original records in the

                  custody of     (Name of Business from which documents are sought)
                       I further state that;
                       A)      such records were xadee at or near the time of the
                               occurrence or the matters set forth, by (or from
                               information transmitted by) a person with knowledqe of
                               those matters;
                        B)     such records were kept in the course of a regularly
                               conducted business activity;
                        c)     the business activity xade such records as a reqular
                               practice; and
                        D)     if such record is not the original, such record is a
                               duplicate of the original.

                             S gnature                                Date

                        Sworn to or affàrped before Ke.                               ,
                                                                     (Name)
                                                                              this
                   a                                                   .--
                             (notary public, judge, jqdicial officer, etc.)
                                     day of                              19    .
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 49 of 50




                                                 19




                                  PoRM = (For Use With Artiele 9)
                       ATTESTATION OF AUTHENTICITY OF FOREIGN PUBLIC DOCUMENTS


                       Iy                                  # attest on penalty of
                                     (Nawe)
                 crixinal punishxent for false statewent or attestation that
                 my posttion œith the Governmant of
                                                                (country)
                  is                      .           . and that in that position I
                            (offioial Title)
                  am authorized by the lav of
                                                           (country)
                  to attest that the documents attached and described betow are
                  true and accurate coptes oe original official records vhtch
                  are recorded or filed in                                            :
                                                      (hame of office or Agency)
                  which is a government office or agency of                           ,
                                                                       (country)


                  Descriptton of Documents:

                                                       (signature)

                                                         (Tit1e)

                                                         (Date)
Case 1:17-mc-22888-UU Document 4 Entered on FLSD Docket 08/01/2017 Page 50 of 50




                                                 20



                                                                                      $
                                                                                      i
                                 FORM c (For Use With Article l4)
                      ATTESTATION WITH RESPECT T0 SEIZED ARTICLES


                      zp                                     , attest on penalty of
                        .
                                    (xame)
                criminal punishxent for false stltements or attestation that
                my position with khe Government of
                                                                 (country)
                 is                                   . I received the articles
                            (official Title)
                 listed below from                    (Name of Person)
                                                             h
                 on                                  , at
                                 (Date)                           (Place)
                 in the following condition:




                 Description of Article:

                 changes in condition while àn my custody:


                 official seal

                                                 (Signature)

                                                   (Tàtle)

                                                   (Date)
